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                                                                                                           1 TUCKER ELLIS LLP
                                                                                                             Howard A. Kroll - SBN 100981
                                                                                                           2 howard.kroll@tuckerellis.com
                                                                                                             515 South Flower Street
                                                                                                           3 Forty-Second Floor
                                                                                                             Los Angeles, CA 90071-2223
                                                                                                           4 Telephone:      213.430.3400
                                                                                                             Facsimile:      213.430.3409
                                                                                                           5
                                                                                                             Attorneys for Plaintiff
                                                                                                           6 VERRAGIO, LTD.
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                                                                                                                                     UNITED STATES DISTRICT COURT
                                                                                                          10                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                                          11 VERRAGIO, LTD.,                              )   Case No. 2:17-cv-04142
                                                                                                                                                          )
                                                                                                          12              Plaintiff,                      )   COMPLAINT FOR COPYRIGHT
                                                                                                                                                          )   AND TRADEMARK
                                                                                                          13
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                                                                                                                     v.                                   )   INFRINGEMENT; DEMAND FOR
                                                                                                                                                          )   TRIAL BY JURY
                                                                                                          14 NINA ELLE JEWELS,                            )
                                                                                                                                                          )
                                                                                                          15               Defendants.                    )
                                                                                                                                                          )
                                                                                                          16
                                                                                                          17         Plaintiff Verragio, Ltd. (“Verragio”), by and through its attorneys, Tucker Ellis
                                                                                                          18 LLP, files its complaint against Nina Elle Jewels (“Defendant”) for injunctive relief and
                                                                                                          19 damages as follows:
                                                                                                          20                          Subject Matter Jurisdiction and Venue
                                                                                                          21         1.    This case is a civil action arising under the Copyright and Trademark Laws
                                                                                                          22 of the United States, 17 U.S.C. §§ 101, et seq., and 15 U.S.C. § 1114, et seq, respectively.
                                                                                                          23 This Court has subject matter jurisdiction over the claims in this Complaint which relate
                                                                                                          24 to copyright infringement pursuant to 15 U.S.C. § 1121, 17 U.S.C. § 501, and 28 U.S.C.
                                                                                                          25 §§ 1331 and 1338(a).
                                                                                                          26         2.    Venue is proper in this court pursuant to 28 U.S.C. §§ 1391(b) and 1400(a).
                                                                                                          27 The infringing products which are the subject of this litigation are and have been
                                                                                                          28 distributed and offered for distribution in the Central District of California; the claims
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                                                                                  1 alleged in this action arose in the Central District of California; and, the Defendant
                                                                                  2 transacts business in the Central District of California.
                                                                                  3                               Parties and Personal Jurisdiction
                                                                                  4         3.      Verragio is a New York corporation with its principal place of business at
                                                                                         th        th
                                                                                  5 330 5 Avenue, 5 Floor, New York, NY 10001.
                                                                                  6         4.      Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                  7 has its principal place of business at 650 S. Hill St., #817, Los Angeles, CA 90014.
                                                                                  8         5.      This Court has personal jurisdiction over Defendant because Defendant
                                                                                  9 transacts business and has other related activities within the Central District of California.
                                                                                 10 Defendant regularly does and solicits business and derives substantial revenue from
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                                                                                 11 doing business in this Judicial District.
                                                                                 12                                   The Business of Verragio
                                                                                 13         6.      Barry Nisguretsky (“Nisguretsky”) is the owner of Verragio.
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                                                                                 14         7.      For over 20 years, Nisguretsky has been an innovator in the design creation,
                                                                                 15 and marketing of fine jewelry. Nisguretsky designs his own jewelry and has created
                                                                                 16 exclusive collections from only top quality material.
                                                                                 17         8.      Among Nisguretsky’s jewelry designs are Style No. INS 7001, INS-7062CU
                                                                                 18 and PAR 3077CU, each an original design comprising copyrightable subject matter under
                                                                                 19 the laws of the United States.
                                                                                 20         9.      At all relevant times, Nisguretsky complied in all respects with the
                                                                                 21 Copyright Act, 17 U.S.C. § 101, et seq., and secured the exclusive rights and privileges in
                                                                                 22 and to the copyrights in INS 7001 (VAu 996-693), INS-7062CU (VA 1-818-617) and
                                                                                 23 PAR-3077CU (VA 1-818-326).
                                                                                 24         10.     Nisguretsky has received a Certificate of Registration from the Register of
                                                                                 25 Copyrights for INS-7001 (VAu 996-693), a copy of which is attached to this Complaint
                                                                                 26 as Exhibit 1.
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                                                                                  1         11.     Nisguretsky has received a Certificate of Registration from the Register of
                                                                                  2 Copyrights for INS-7062 (VA 1-818-617), a copy of which is attached to this Complaint
                                                                                  3 as Exhibit 2.
                                                                                  4         12.     Nisguretsky has received a Certificate of Registration from the Register of
                                                                                  5 Copyrights for PAR 3077CU (VA 1-818-326), a copy of which is attached to this
                                                                                  6 Complaint as Exhibit 3.
                                                                                  7         13.     Nisguretsky has exclusively licensed his copyrighted jewelry designs to
                                                                                  8 Verragio, including INS-7011, INS 7062CU and PAR 3077CU. Copies of some of the
                                                                                  9 copyrighted jewelry designs licensed by Nisguretsky to Verragio are attached to this
                                                                                 10 Complaint as Exhibit 4.
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                                                                                 11         14.     Since its creation, INS-7011; INS 7062CU and PAR 3077CU have been
                                                                                 12 manufactured by Verragio, or under its authority.
                                                                                 13         15.     Each engagement ring in Verragio’s Insignia Collection, as well as in most
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                                                                                 14 of the other Verragio collections, contains the Verragio Crest. The Verragio Crest, as it
                                                                                 15 applies to jewelry, “consists of the configuration of a crest in the shape of a crown with
                                                                                 16 three points featured as a part of a ring design.”          Verragio owns a United States
                                                                                 17 trademark registration for the Verragio Crest, Registration No. 4,336,434. A copy of the
                                                                                 18 Registration Certificate for this registration is attached to this Complaint as Exhibit 5.
                                                                                 19         16.     Verragio has made and continues to make a substantial investment of time,
                                                                                 20 effort, and expense in the design, manufacturing and marketing of its jewelry featuring
                                                                                 21 the Verragio Crest.
                                                                                 22         17.     Verragio advertises its products, including jewelry that contains the Verragio
                                                                                 23 Crest, in social media including Facebook, Pinterest, Twitter, YouTube, Instagram,
                                                                                 24 Google+ and over the World Wide Web through its website www.verragio.com.
                                                                                 25         18.     Verragio jewelry bearing the Verragio Crest has been sold to retail stores
                                                                                 26 throughout the United States. These retail stores display and offer for sale to the general
                                                                                 27 public jewelry that contains the Verragio Crest.
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                                                                                  1         19.    Verragio jewelry bearing the Verragio Crest has had outstanding commercial
                                                                                  2 success. As a result, jewelers and the public recognize the Verragio Crest as designating
                                                                                  3 an exclusive source, thereby creating a goodwill which inures to Verragio’s benefit.
                                                                                  4
                                                                                  5                                  The Business of Defendant
                                                                                  6         20.    Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                  7 is a wholesale designer, manufacturer and/or distributor of jewelry to the jewelry industry
                                                                                  8 and is in the business of designing, manufacturing, marketing and selling fine jewelry.
                                                                                  9         21.    Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                 10 operates its jewelry business in direct competition with retailers that purchase jewelry
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                                                                                 11 from Verragio.
                                                                                 12         22.    Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                 13 sells its jewelry to, and actively solicits and seeks as customers, the same jewelry retailers
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                                                                                 14 as Verragio.
                                                                                 15         23.    Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                 16 sells its jewelry to, and actively solicits and seeks as customers, the same customers and
                                                                                 17 consumers as those retailers that purchase jewelry from Verragio.
                                                                                 18         24.    Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                 19 sells its jewelry to jewelers, retailers, and consumers within this Judicial District, and
                                                                                 20 specifically markets its jewelry within this Judicial District.
                                                                                 21         25.    Verragio has not authorized Defendant to copy, reproduce, manufacture,
                                                                                 22 duplicate, disseminate, or distribute jewelry with a design that is substantially similar to
                                                                                 23 the copyrighted jewelry designs of INS-7011, INS 7062CU and PAR 3077CU or any
                                                                                 24 other copyrighted ring design licensed to Verragio.
                                                                                 25         26.    Verragio has not authorized Defendant to copy, reproduce, manufacture,
                                                                                 26 duplicate, disseminate, or distribute jewelry with a design that is confusingly similar to
                                                                                 27 the Verragio Crest trademark.
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                                                                                  1         27.    Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                  2 has engaged in the advertisement, manufacture, distribution, duplication and/or sale of
                                                                                  3 jewelry with designs that are substantially similar to the copyrighted jewelry designs of
                                                                                  4 INS-7011, INS 7062CU and PAR 3077CU, and other copyrighted ring designs licensed
                                                                                  5 to Verragio.
                                                                                  6         28.    Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                  7 has engaged in the advertisement, manufacture, distribution, duplication and/or sale of
                                                                                  8 jewelry with designs that are confusingly similar to the Verragio Crest trademark.
                                                                                  9         29.    Pictures of some of these unauthorized and infringing pieces of jewelry are
                                                                                 10 attached to this Complaint as Exhibit 6.
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                                                                                 11                                    First Cause of Action
                                                                                 12                    (Copyright Infringement Under 17 U.S.C. § 101 et seq.)
                                                                                 13         30.    Verragio realleges and incorporates by reference each of the allegations
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                                                                                 14 contained in Paragraphs 1 through 29 of this Complaint as though fully set forth.
                                                                                 15         31.    Defendant’s acts constitute infringement of Verragio’s licensed copyright in
                                                                                 16 INS-7011, INS 7062CU and PAR 3077CU in violation of the Copyright Act, 17 U.S.C. §
                                                                                 17 101, et seq.
                                                                                 18         32.    A comparison of the jewelry designs of INS-7011, INS 7062CU and PAR
                                                                                 19 3077CU to Defendant’s infringing rings follows:
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                                                                                            Verragio Style No. 7001                         Nina Elle Ring
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                                                                                 23        Verragio Style No. IND 7062CU               Nina Elle Ring Style R225
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                                                                                           Verragio Style No. PAR 3077CU                   Nina Elle Ring Style ANR300
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                                                                                 14
                                                                                 15         33.   Verragio is informed and believes, and on that basis alleges, that
                                                                                 16 Defendant’s manufacture, distribution, duplication and/or sale of infringing copies of
                                                                                 17 INS-7011, INS 7062CU and PAR 3077CU was deliberate, willful, malicious, oppressive,
                                                                                 18 and without regard to Verragio’s proprietary rights.
                                                                                 19         34.   Defendant’s copyright infringement has caused, and will continue to cause
                                                                                 20 Verragio to suffer, substantial injuries, loss, and damage to its proprietary and exclusive
                                                                                 21 rights to INS-7011, INS 7062CU and PAR 3077CU and has damaged Verragio’s
                                                                                 22 business reputation and goodwill, diverted its trade and caused loss of profits, all in an
                                                                                 23 amount not yet determined. In addition, Verragio is entitled to receive the profits made
                                                                                 24 by Defendant from its wrongful acts pursuant to 17 U.S.C. § 504.             Alternatively,
                                                                                 25 Verragio is entitled to recover statutory damages, on election by Verragio, in an amount
                                                                                 26 of up to $150,000 for each copyrighted work sold, offered for sale or distributed.
                                                                                 27         35.   Defendant’s copyright infringement, and the threat of continuing
                                                                                 28 infringement has caused, and will continue to cause Verragio repeated and irreparable

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                                                                                  1 injury. It would be difficult to ascertain the amount of money damages that would afford
                                                                                  2 Verragio adequate relief at law for Defendant’s acts and continuing acts. Verragio’s
                                                                                  3 remedy at law is not adequate to compensate it for the injuries already inflicted and
                                                                                  4 further threatened by Defendant. Therefore, Verragio is entitled to preliminary and
                                                                                  5 permanent injunctive relief pursuant to 17 U.S.C. § 502, and to an order under 17 U.S.C.
                                                                                  6 § 503 and 28 U.S.C. § 1651(a) that the infringing copies of INS-7011, INS 7062CU and
                                                                                  7 PAR 3077CU, and all molds by which such infringing copies were produced, be seized,
                                                                                  8 impounded and destroyed.
                                                                                  9         36.   Verragio is also entitled to recover its attorneys’ fees and costs of suit
                                                                                 10 pursuant to 17 U.S.C. § 505.
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                                                                                 11                                   Second Cause of Action
                                                                                 12                    (Trademark Infringement Under 15 U.S.C. § 1114(1))
                                                                                 13         37.   Verragio realleges and incorporates by reference each of the allegations
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                                                                                 14 contained in Paragraphs 1 through 36 of this Complaint as though fully set forth here.
                                                                                 15         38.   Defendant’s use in commerce of Verragio’s federally registered trademark in
                                                                                 16 the Verragio Crest is likely to cause confusion, mistake, or to deceive.
                                                                                 17         39.    The above-described acts of Defendant constitute trademark infringement in
                                                                                 18 violation of 15 U.S.C. § 1114(1), entitling Verragio to relief.
                                                                                 19         40.   Defendant has unfairly profited from the trademark infringement alleged.
                                                                                 20         41.   By reason of Defendant’s acts of trademark infringement, Verragio has
                                                                                 21 suffered damage to the goodwill associated with the Verragio Crest.
                                                                                 22         42.   Defendant’s acts of trademark infringement have irreparably harmed and, if
                                                                                 23 not enjoined, will continue to irreparably harm Verragio and its federally registered
                                                                                 24 trademark.
                                                                                 25         43.   Defendant’s acts of trademark infringement have irreparably harmed and, if
                                                                                 26 not enjoined, will continue to irreparably harm the general public who has an interest in
                                                                                 27 being free from confusion, mistake, and deception.
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                                                                                  1         44.   By reason of Defendant’s acts of trademark infringement, Verragio’s
                                                                                  2 remedy at law is not adequate to compensate it for the injuries inflicted by Defendant.
                                                                                  3 Accordingly, Verragio is entitled to injunctive relief pursuant to 15 U.S.C. § 1116.
                                                                                  4         45.   By reason of Defendant’s willful acts of trademark infringement, Verragio is
                                                                                  5 entitled to damages, and that those damages be trebled under 15 U.S.C. § 1117.
                                                                                  6         46.   This is an exceptional case making Verragio eligible for an award of
                                                                                  7 attorneys’ fees under 15 U.S.C. § 1117.
                                                                                  8                                   Third Cause of Action
                                                                                  9                  (Trademark Infringement and False Designation of Origin
                                                                                 10                                 Under 15 U.S.C. § 1125(a))
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                                                                                 11         47.   Verragio realleges and incorporates by reference each of the allegations
                                                                                 12 contained in Paragraphs 1 through 46 of this Complaint as though fully set forth.
                                                                                 13         48.   Verragio’s jewelry incorporating the Verragio Crest has a unique and
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                                                                                 14 distinctive design which designates a single source of origin.
                                                                                 15         49.   Defendant’s use in commerce of the Verragio Crest is likely to cause
                                                                                 16 confusion, or to cause mistake, or to deceive the relevant public that Defendant’s goods
                                                                                 17 or service are authorized, sponsored or approved by or are affiliated with Verragio.
                                                                                 18         50.   The above-described acts of Defendant constitute trademark infringement of
                                                                                 19 the Verragio Crest and false designation of origin in violation of 15 U.S.C. § 1125(a),
                                                                                 20 entitling Verragio to relief.
                                                                                 21         51.   Verragio is being damaged and is likely to be damaged in the future by
                                                                                 22 Defendant’s infringement by reason of the likelihood that purchasers of Defendant’s
                                                                                 23 goods will be confused or mistaken as to source, sponsorship or affiliation of Defendant’s
                                                                                 24 jewelry.
                                                                                 25         52.   Defendant has unfairly profited from the actions alleged herein and will
                                                                                 26 continue to unfairly profit and become unjustly enriched unless and until such conduct is
                                                                                 27 enjoined.
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                                                                                  1          53.   By reason of the above-described acts of Defendant, Verragio has suffered
                                                                                  2 and will continue to suffer damage to the goodwill associated with the Verragio Crest.
                                                                                  3          54.   The above-described acts of Defendant have irreparably harmed and, if not
                                                                                  4 enjoined, will continue to irreparably harm Verragio and the Verragio Crest.
                                                                                  5          55.   The above-described acts of Defendant have irreparable harmed and, if not
                                                                                  6 enjoined, will continue to irreparably harm the general public which has an interest in
                                                                                  7 being free from confusion, mistake, and deception.
                                                                                  8          56.   By reason of the above-described acts of Defendant, Verragio’s remedy at
                                                                                  9 law is not adequate to compensate it for the injuries inflicted. Accordingly, Verragio is
                                                                                 10 entitled to entry of injunctive relief pursuant to 15 U.S.C. § 1116.
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                                                                                 11          57.   Because the above-described acts of Defendant were willful, Verragio is
                                                                                 12 entitled to damages, and that those damages be trebled, under 15 U.S.C. § 1117.
                                                                                 13          58.   This is an exceptional case making Verragio eligible for an award of
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                                                                                 14 attorneys’ fees under 15 U.S.C. § 1117.
                                                                                 15
                                                                                 16                                       Prayer for Relief
                                                                                 17          Therefore, Verragio respectfully requests judgment as follows:
                                                                                 18          1.    That the Court enter a judgment against Defendant that Defendant has:
                                                                                 19                a. infringed the rights of Verragio in Verragio’s federally registered
                                                                                 20                   copyrights under 17 U.S.C. § 501;
                                                                                 21                b. infringed the rights of Verragio in its federally registered trademark in its
                                                                                 22                   Verragio Crest in violation of 15 U.S.C. § 1114; and
                                                                                 23                c. infringed the rights of Verragio in the Verragio Crest in violation of 15
                                                                                 24                   U.S.C. § 1125.
                                                                                 25          2.    That each of the above acts by Defendant were willful.
                                                                                 26          3.    That the Court issue a Temporary Restraining Order and Preliminary
                                                                                 27 Injunction enjoining and restraining Defendant and its respective agents, servants,
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                                                                                  1 employees, successors and assigns, and all other persons acting in concert with or in
                                                                                  2 conspiracy with or affiliated with Defendant, from:
                                                                                  3                (a)   manufacturing, producing, selling, distributing, destroying, altering, or
                                                                                  4                      otherwise disposing of any jewelry that is in the possession of
                                                                                  5                      Defendant that is confusingly similar to the Verragio Crest, or that is
                                                                                  6                      substantially similar to INS-7011, INS 7062CU and PAR 3077CU or
                                                                                  7                      any other copyrighted design licensed to Verragio;
                                                                                  8                (b)   destroying any documents, electronic files, wax models, molds,
                                                                                  9                      business records, or any other tangible object pertaining to the
                                                                                 10                      copying, reproduction, manufacture, duplication, distribution, or
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                                                                                 11                      advertisement of any such jewelry;
                                                                                 12                (c)   engaging in any other activity constituting an infringement of
                                                                                 13                      Verragio’s trademark rights in the Verragio Crest and/or Verragio’s
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                                                                                 14                      licensed copyrighted jewelry designs; and
                                                                                 15                (d)   assisting, aiding, or abetting any other person or business entity in
                                                                                 16                      engaging in or performing any of the activities referred to in
                                                                                 17                      subparagraph 3(a) through 3(c) above.
                                                                                 18          4.    That Verragio be awarded damages for Defendant’s trademark infringement,
                                                                                 19 and unfair competition.
                                                                                 20          5.    That Verragio be awarded Defendant’s profits resulting from its
                                                                                 21 infringement of Verragio’s trademark.
                                                                                 22          6.    That Defendant be ordered to account to Verragio for, and disgorge, all
                                                                                 23 profits it has derived by reason of the unlawful acts complained of above.
                                                                                 24          7.    That damages resulting from Defendant’s willful infringement be trebled in
                                                                                 25 accordance with the provisions of 15 U.S.C. § 1117.
                                                                                 26          8.    That Verragio be awarded damages for Defendant’s copyright infringement
                                                                                 27 in the form of either: (i) actual damages in an amount to be determined at trial, together
                                                                                 28 with Defendant’s profits derived from its unlawful infringement of Verragio’s copyrights;

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                                                                                  1 or (ii) statutory damages for each act of infringement in an amount provided by law, as
                                                                                  2 set forth in 17 U.S.C. § 504, at Verragio’s election before the entry of final judgment,
                                                                                  3 together with prejudgment and post-judgment interest.
                                                                                  4          9.    That the Court issue a Permanent Injunction enjoining and restraining
                                                                                  5 Defendant and its respective agents, servants, employees, successors and assigns, and all
                                                                                  6 other persons acting in concert with or in conspiracy with or affiliated with Defendant,
                                                                                  7 from:
                                                                                  8                (a)   copying, reproducing, manufacturing, duplicating, disseminating,
                                                                                  9                      distributing, or using the Verragio Crest or infringing copies of
                                                                                 10                      Verragio’s licensed copyrighted jewelry designs;
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                                                                                 11                (b)   engaging in any other activity constituting an infringement of any of
                                                                                 12                      Verragio’s trademarks or licensed copyrighted jewelry designs; and
                                                                                 13                (c)   assisting, aiding, or abetting any other person or business entity in
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                                                                                 14                      engaging in or performing any of the activities referred to in
                                                                                 15                      subparagraph 9(a) through 9(b) above.
                                                                                 16          10.   That the Court issue an Order at the conclusion of the present matter that all
                                                                                 17 infringing copies of jewelry, and all molds by which such infringing jewelry was
                                                                                 18 produced, be seized, impounded and destroyed.
                                                                                 19          11.   That the Court award Verragio its reasonable attorneys’ fees pursuant to 17
                                                                                 20 U.S.C. § 505, 15 U.S.C. § 1117, and any other applicable provision of law.
                                                                                 21          12.   That the Court award Verragio its costs of suit incurred herein.
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                                                                                 1           13.   That Verragio be awarded such other relief as may be appropriate, including
                                                                                 2 costs of corrective advertising.
                                                                                 3
                                                                                 4 DATED: June 2, 2017                           Tucker Ellis LLP
                                                                                 5
                                                                                 6
                                                                                                                                 By:   /s/Howard A. Kroll
                                                                                 7                                                     Howard A Kroll
                                                                                                                                       Attorneys for Plaintiff
                                                                                 8                                                     VERRAGIO, LTD.
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                                                                                 1                                 DEMAND FOR TRIAL BY JURY
                                                                                 2
                                                                                 3             Plaintiff Verragio, Ltd. hereby demands a trial by jury to decide all issues so triable
                                                                                 4 in this case.
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                                                                                 6 DATED: June 2, 2017                                Tucker Ellis LLP
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                                                                                                                                      By:    /s/Howard A. Kroll
                                                                                 9                                                           Howard A Kroll
                                                                                                                                             Attorneys for Plaintiff
                                                                                 10                                                          VERRAGIO, LTD.
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




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